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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


UNITED STATES OF AMERICA


                                                        NO.

SLATER WASHBURN SWARTWOOD,
SR.



                                     PLEA AGREEMENT


       Slater Washburn Swartwood, Sr., the defendant, Max Stern, the defendant's

attorney, and the United States of America (the government) agree as follows:

      1.          Rights of the defendant: The defendant understands that the defendant

has the rights:

                  a.    to have his case presented to a federal grand jury;

                  b.    to plead not guilty;

                  c.    to have a trial by jury;

                  d.     to have the defendant's guilt proven beyond a reasonable doubt;

                  e.     to confront and cross-examine witnesses and to call witnesses in the
                         defendant's defense; and

                  f.     against compelled self-incrimination.

       2.         Waiver of rights and plea of guilty: The defendantwaives these rights

and pleads guilty to the offense alleged in Count One ofthe Information, charging a
violation of 18 U.S.C. § 371, that is, conspiracy to commit moneylaundering. The



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defendant understands the nature and elements of the crime to which the defendant is


pleading guilty, and agrees that the factual resume the defendant has signed is trae and

will be submitted as evidence.


       3.     Sentence: The maximum penalties the Court can impose include:

              a.         imprisonment for a period not to exceed five years;

              b.         a fine not to exceed $250,000, or twice any pecuniary gain to the
                         defendant or loss to the victim(s);

              c.         a teim of supervised release of not more than three years, which may
                         be mandatory under the law and will follow any term of
                         imprisonment. If the defendant violates the conditions of supervised
                         release, the defendant could be imprisoned for the entire term of
                         supervised release;

              d.         a mandatory special assessment of $100;

              e.         restitution to victims or to the community, which may be mandatory
                         under the law, and which the defendant agrees may include
                         restitution arising from all relevant conduct, not limited to that
                         arising from the offense of conviction alone;

              f.         costs of incarceration and supervision; and

              g.         forfeiture ofproperty.

       4.     Court's sentencing discretion and role of the Guidelines: The defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attorney, but understands no one can predictwith certainty the outcome of the Court's


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consideration of the guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea if the defendant's sentence is higher than expected. The

defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

       5.     Mandatory special assessment: Prior to sentencing, the defendant agrees

to pay to the U.S. District Clerk the amount of $100, in satisfaction of the mandatory

special assessment in this case.

       6.     Defendant's agreement: The defendant shall give complete and truthful

infoimation and/or testimony concerning the defendant's participation in the offense of

conviction. Upon demand, the defendant shall submit a personal financial statement

under oath and submit to interviews by the government and the U.S. Probation Office

regarding the defendant's capacity to satisfy any fines or restitution. The defendant

expressly authorizes the United States Attorney's Office to immediately obtain a credit

report on the defendant in order to evaluate the defendant's ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

of a fine, is due and payable immediately. In the event the Court imposes a schedule for

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney's Office from pursuing any

other means by which to satisfy the defendant's full and immediately enforceable

financial obligation. The defendant understands that the defendant has a continuing




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obligation to pay in full as soon as possible any financial obligation imposed by the

Court.


         7.   Forfeiture of property: The defendant agrees not to contest, challenge, or

appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States of anyproperty notedas subject to forfeiture pursuant to the plea of guilty,

specifically the forfeiture of cashseized from the defendant's residence. The defendant

agrees that this property is subject to forfeiture under 21 U.S.C. § 853(a). The defendant

consents to entry of any orders or declarations of forfeiture regarding such property and

waives anyrequirements (including notice of forfeiture) set out in 19 U.S.C. §§ 1607-

1609; 18U.S.C. §§ 981, 983, and 985; the Code of Federal Regulations; andRules 11

and 32.2 of the Federal Rules of Criminal Procedure. The defendant agrees to provide

truthful information and evidence necessary for the government to forfeit such property.

The defendant agrees to hold the government, its officers, agents, and employees

harmless from any claim whatsoever in connection with the seizure, forfeiture, storage, or

disposal of such property.

         8.   Government's agreement: The government will notbring any additional

charges against the defendant based upon the conduct underlying and related to the
defendant's plea of guilty. The government will file a Supplement inthis case, as is
routinely done in every case, even though there may ormay not be any additional terms.
The government will dismiss, after sentencing, any remaining charges in the pending
Information. This agreement is limited to the United States Attorney's Office for the

Northern District of Texas and does not bind any other federal, state, or local prosecuting


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authorities, nor does it prohibit any eivil or administrative proceeding against the

defendant or any property.

       9.     Violation of agreement: The defendant understands that if the defendant

violates anyprovision of this agreement, or if the defendant's guilty pleais vacated or

withdrawn, the government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses ofwhich it has laiowledge. In such event, the

defendant waives any objections based upon delay in prosecution. If the plea is vacated

or withdrawn for anyreason other thana finding that it was involuntary, the defendant

also waives objection to the use against the defendant of any information or statements

the defendant has provided to the government, and any resulting leads.

       10.    Voluntary plea: This plea of guilty is freely andvoluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees orpromises from anyone as to what sentence

the Court will impose.

       11.    Waiver of right to appeal or otherwise challenge sentence: The

defendant waives the defendant's rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. §

3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the district court. The defendant further waives the

defendant's right to contest the conviction, sentence, fine and order of restitution or

forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. The defendant, however, reseiwes the rights (a) to bring a direct appeal

of (i) a sentence exceeding the statutory maximum punishment, or(ii) an arithmetic error

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at sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance of counsel.

       12.    Representation of counsel: The defendant has thoroughlyreviewed all

legal andfactual aspects of this case with the defendant's attorney and is fully satisfied

with that attorney's legal representation. The defendant has received from the

defendant's attorney explanations satisfactory to the defendant concerning each

paragraph of this pleaagreement, each of the defendant's rights affected by this

agreement, andthe alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attorney, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.

       13.     Entirety of agreement: This document is a complete statement of the

parties' agreement andmay notbe modified unless the modification is in writing and

signed by all parties. This agreement supersedes any and all other promises,

representations, understandings, and agreements that are or were made between the

parties at anytimebefore the guilty plea is entered in court. No promises or

representations have beenmade by theUnited States except as set forth in writing in this

plea agreement.




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         AGREED TO AND SIGNED this J^day of                         201*^.


                                          ERINNEALY COX
                                          UNITED STATES ATTORNEY




                                         ANDRE\^^RMANI
                                         Assistant United States Attorney
                                         Texas Bar No. 24052287
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                                         KATHERINE MILLER
                                         Deputy Criminal Chief


       I have read orhad read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I folly understand it and voluntarily agree to it.



S^TER WASHBURN                           Date
SMARTWOOD, SR.
Defendant

        I am the defendant's attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To myloiowledge and belief, my client's decision to enter
into this plea agreement is an informed and voluntary one.


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MAX STERN                                Date
Attorney for Defendant


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